                              U.S. District Court
                    District of New Hampshire (Concord)
             CRIMINAL DOCKET FOR CASE #: 1:23−mj−00112−AJ−2

Case title: USA v. Lodge et al                           Date Filed: 06/14/2023

Assigned to: US Magistrate Judge
Andrea K Johnstone

Defendant (2)
Denise Lodge                       represented by David M. Rothstein
                                                  Rothstein Law LLC
                                                  100 High St
                                                  Exeter, NH 03833
                                                  603 228−9218
                                                  Email: rothsteindm@outlook.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

Pending Counts                                   Disposition
18 U.S.C. 371 CONSPIRACY
(1)
18 U.S.C. 2314 and 2
INTERSTATE TRANSPORT OF
STOELN GOODS, AID AND
ABET
(5)

Highest Offense Level
(Opening)
Felony

Terminated Counts                                Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
None



                                                                                   1
Plaintiff
USA                                           represented by John J Kennedy
                                                             DOJ−USAO
                                                             53 Pleasant Street
                                                             Ste 4th Floor
                                                             Concord, NH 03301
                                                             603−225−1552
                                                             Email: john.kennedy2@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney

 Date Filed   # Page Docket Text
 06/14/2023           Arrest (Removal) of Cedric Lodge, Denise Lodge.(kad) (Entered: 06/14/2023)
 06/14/2023   1       COPY of Warrants and Indictment from Middle District of Pennsylvania, Case
                      No. 4:23−CR−159. (kad) (Additional attachment(s) added on 6/14/2023: # 1
                      Warrants) (kad). (Entered: 06/14/2023)
 06/14/2023           NOTICE OF HEARING as to Denise Lodge. Removal Hearing set for 6/14/2023
                      12:30 PM before US Magistrate Judge Andrea K Johnstone. (kad) (Entered:
                      06/14/2023)
 06/14/2023   2       MOTION to Appoint Counsel with Financial Declaration by Denise Lodge.
                      (Attachments: # 1 Financial Affidavit) (bd) (Entered: 06/14/2023)
 06/14/2023           ENDORSED ORDER approving: 2 Motion to Appoint Counsel. David
                      Rothstein appointed in the case as to Denise Lodge (2). Assignment accepted
                      on 6/14/2023. Text of Order: Request Approved. Appoint counsel for limited
                      purpose of today's hearing. So Ordered by US Magistrate Judge Andrea K
                      Johnstone. (bd) (Entered: 06/14/2023)
 06/14/2023           Minute Entry for proceedings held before US Magistrate Judge Andrea K
                      Johnstone: REMOVAL HEARING as to Denise Lodge held on 6/14/2023 Court
                      approves financial affidavit for the limited purpose of today's hearing. Defendant:
                      advised of rights and charges, waived preliminary hearing, waived identity
                      hearing. Defendant released on conditions. Detention hearing to be held in
                      prosecuting district. (Tape #12:35) (Govt Atty: John Kennedy) (Defts Atty: David
                      Rothstein) (USP: Janice Bernard)(Total Hearing Time: 10 Min)(CJA Time: 15
                      min) (bd) (Entered: 06/14/2023)
 06/14/2023   3       WAIVER of Rule5(c)(3) Hearing by Denise Lodge. Defendant requests
                      Preliminary Hearing and Detention Hearing in prosecuting district. (bd) (Entered:
                      06/14/2023)
 06/14/2023   4       ORDER OF HOLDING DEFENDANT TO ANSWER AND TO APPEAR
                      IN DISTRICT OF PROSECUTION as to Denise Lodge to the Middle
                      District of Pennsylvania WHEN NOTFIED. So Ordered by US Magistrate
                      Judge Andrea K Johnstone. (bd) (Entered: 06/14/2023)
 06/14/2023   5       ORDER Setting Conditions of Release as to Denise Lodge. So Ordered by US
                      Magistrate Judge Andrea K Johnstone. (bd) (Entered: 06/14/2023)


                                                                                                            2
                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                        CR. NO. 4:23-CR-159

              v.
                                                 (Chief JudgeBrann )
CEDRIC LODGE,
KATRINA MACLEAN,
JOSHUA TAYLOR and
DENISE LODGE,
           Defendants.


                           INDICTMENT

THE GRAND JURY CHARGES:
                                                                FILED
                                COUNT 1                       SCRANTON
                              18 U.S.C. § 371                  JUN 13 2023
                               (Conspiracy)
                                                        PER       JU.C
                                                                DEPUTY CLERK
I.   Background

     At times material to the Indictment:

     A.    Relevant Individuals and Entities

      1.   Harvard Medical School ("HMS"), located in Boston

Massachusetts, was the graduate medical school of Harvard University,

a private, non-profit educational institution.

     2.    CEDRIC LODGE resided in Goffstown, New Hampshire,

and was employed by Harvard Medical School as the Morgue Manager.




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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Middle District
                                                 __________         of Pennsylvania
                                                             District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    4:23-CR-159-MWB
                        DENISE LODGE                              )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      DENISE LODGE                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Conspiracy (18:371), et al




Date:         06/13/2023                                                            V1LFROH55H\QROGV
                                                                                         Issuing officer’s signature

City and state:       Williamsport, Pennsylvania                             Peter J. Welsh, Clerk by N. Reynolds, deputy
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title



                                                                                                                                     18
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Middle District
                                                 __________         of Pennsylvania
                                                             District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    4:23-CR-159-MWB
                       CEDRIC LODGE                               )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      CEDRIC LODGE                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Conspiracy (18:371), et al




Date:         06/13/2023                                                            V1LFROH55H\QROGV
                                                                                         Issuing officer’s signature

City and state:       Williamsport, Pennsylvania                             Peter J. Welsh, Clerk by N. Reynolds, deputy
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title



                                                                                                                                     19
T>                                                                                 U.S. DISTRICT COURT
                                                                                 OISTRICT OF NEW HAMPSHIRE
                                             UNITED STATES DISTRICT COURT                  JUN 14 2023
                                              DISTRICT OF NEW HAMPSHIRE
                                                                                               FILED
     IN RE THE MATTER OF:

       ^c        ^                                                 Case No.        I; J-T) -     - OCti 2-'AT*
     (Petitioner’s Name)                                                         (If known)


                                       REQUEST FOR APPOINTMENT OF COUNSEL


          I,                1 ●'i' <   L~c cl      ^                 respectfully request appointment of

     counsel to represent me as a criminal defendant.

           I am financially unable to hire counsel. A completed Financial Affidavit is attached.

           I declare under penalty of perjury that the foregoing is true and correct.


                                                                                    //
     Date:           1                 >2                                          //'■




                                                                 yjSignature otPetitioner




                                                    RULING BY JUDICIALOFFICER

               Request Approved. Appoint CounseliT=f'U>J'1/ll-ec(                    ^                 5
          □    Request Denied.
          □    Other:__




     Date:        U11
                   p- O' 7 i'
                                                                   U.S. Magistrate Judge
     USDCNH-17 (Rev. 4/2018) (Previous Editions Obsolete)




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                                                                                                         USDCNH-119(3/13)
A^66^Rev^2/09^aive^n^ul^^^^^caring^Comglain^Hndictmen0
                                                                                            U 5 DISTRICT UUUkI
                                   UNITED STATES DISTRICT COURTHSTRICT OF NEW HAMPSHIRE
                                       District of New Hampshire     JUN 14 2023

UNITED STATES OF AMERICA
                                                                                                        FILED
                  V.                                                Case Number:       t; 2-^
 l)         I      i^Ac^                                            Charging District’s Case Number: ^             ~     ^
            Defendant

                                         WAIVER OF RULE 5 & 5.1 HEARINGS
                                              (Complaint or Indictment)

      i understand that I have been charged in another district, the      M^.jU                           M
                                                                                       (name of Other court)
      I have been informed of the charges and of my rights to:

      (1) retain counsel or request the assignment of counsel if I am unable to retain counsel;

      (2) an identity hearing to determine whether I am the person named of the charges;

      (3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

      (4) a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise --
          unless I am indicted -- to determine whether there is probable cause to believe that an offense has been
          committed;

      (5) a hearing on any motion by the government for detention;

      (6) request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty,

      I agree to waive my right(s) to;

          an identity hearing and production of the warrant,

          a preliminary hearing,

      ar a detention hearing
          an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may be
          entitled in this district. I request that those hearings be held in the prosecuting district, at a time set by that
          court.

    1 consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.
                                                          I
                                                                                   \
Date:
                                                              Signature of Defd^             ●N


Date;                        ^' 1                                                                   f

                                                              Counsel for Defeni^anf

Date:                                                             Clu Mil
                                                              ^   United States Magistrate Judge
                                                              □   United States District Judge
cc;       Defendant
          U.S. Attorney
          U.S. Marshal
          U.S. Probation
          Defense Counsel
                                                                                                                                22
                                                                           U.S. DISTRICT COURT
                                                                          DISTRICT OF NEW HAMPSHIRE
AO 467(Rev. 1/09) Order of Holding Defendant(NH-1/09)
                                                                          ^^JUNiT20T3
                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE                    FILED
United States of America                                Case No. 23-mj-112-02-AJ

V.


Denise Lodge                             Charging District Case Number: 4:23-CR-159

                        ORDER OF HOLDING DEFENDANT TO ANSWER
                      AND TO APPEAR IN DISTRICT OF PROSECUTION
                      OR DISTRICT HAVING PROBATION JURISDICTION


        The defendant having appeared before this Court pursuant to Rule

5,    Fed.   R.   Crim.     P., and      proceedings      having   been   concluded   and   the

defendant released;

        The defendant shall be held to answer in the United States District

Court for the Middle District of Pennsylvania and shall appear at all

proceedings as required.               The defendant shall next appear:

        Where:          United States District Court
                        Middle District of Pennsylvania
                        Herman T. Schneebeli Federal Building & U.S. Courthouse
                        240 West Third Street
                        Williamsport, PA 17701

        When:           WHEN NOTIFIED




        The clerk is ordered to transfer any bail deposited in the registry

of this court to the clerk of court where the charges are pending.

        SO ORDERED.



                                                        Andrea K. Johnstone
                                                        United States Magistrate Judge
6/14/2023

cc:      U.S. Attorney
         U.S. Marshal
         U.S. Probation
         Name of Deft's Atty




                                                                                                      23
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                    USDCNH-40 (5/20)



                                         UNITED STATE DISTRICT COURT
                                                District of New Eiampshire




UNITED STATES OF AMERICA

                   V.                                  ORDER SETTING CONDITIONS OF RELEASE

Denise Lodge                                           Case No. 23-mj-l 12-02




IT IS ORDERED that the release of the defendant is subject to the following conditions:


         The defendant shall not commit any offense in violation of federal, state, or local law while on release in this case.

         The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. 14135a.

         The defendant shall immediately advise the court, defenr.e counsel, and the U.S. Attorney in writing before any change in
         address and telephone number.

         The defendant shall appear at ail proceedings as required and shall surrender for service of any sentence imposed or as
         directed.


 ]5.     The defendant shall appear at                                                                                             on
                                                      at                 AM     or as otherwise notified.



                                                   Additional Conditions of Release


Upon finding that release by one of the above methods w'ill not by itself reasonably assure the appearance of the defendant and the
safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions
marked below:


   6.    The defendant is placed in the custody of: {address to be redactedfrom electronic version ofdocument entered on CM/ECF):



                                                                                  Tel. No.


who agrees(a)to supervise the defendant in accordance with all the conditions of release,(b) to use every effort to assure the
appearance of the defendant at all scheduled court proceedings, and (c)to notify the court immediately in the event the defendant
violates any conditions of release or disappears.

                                                       Signed:
                                                                           (Custodian or Proxy)




                                                                                                                     Page 1 of5

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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                        USDCNH-40 (5/20)



  7.   The defendant shall:
        □   (a)   Report on a regular basis as directed by the supervising officer.
        □   (b)   Maintain or actively seek employment.
        □   (c)   Refrain from possessing a firearm, destructive device, or other dangerous weapons.
        □   (d)   Surrender any firearm(s) to:
                  □ Clerk, U.S. District Court, 55 Pleasant St, Concord, NH.
                  □ Other:                                                                                                                       ■
                    and provide written verification to the supervising officer.
        □ (e)     Surrender any passport to:
                  □ Clerk, U.S. District Court, 55 Pleasant St., Concord, NH.
                  □ Other:                                                                                                                       ■
                  □ by:                                                                                                                              ■
        □ (0      Obtain no passport.
        □ (g)     Submit to any method of testing required by the supervising officer for determining whether the defendant is using a
                  prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of a
                  sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
        □ (h)     Refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy          f
                  any prohibited substance testing or electronic monitoring which is (are) required as a condition(s) of release.
        □ (i)     Meaningfully participate in a program of inpatient or outpatient substance abuse treatment, which may include may
                  include medication assisted treatment, if deemed advisable by the supervising officer and do not discontinue
                  any treatment program without the prior approval of the supervising officer.
        □ G)      Be detained until he/she can be released directly into an inpatient treatment facility. Further hearing
                  to be held upon the completion of the program or upon discontinuation for any reason. Defendant shall promptly
                  notify the court. Assistant U.S. Attorney and the supervising officer of his/her discontinuation of the program or
                  the anticipated program completion date and shall appear for a bail review hearing as scheduled.
        □ (k)     Restrict travel to the State(s) of New Hampshire and
                  □ Travel to                                                                                          for work purpose.s only,
                  □ Travel to                                                                                          for court purposes only.
                  □ Other:
                  Any other travel must be pre-approved by the supervising officer.
        □d)       Avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential
                  witness in the subject investigation or prosecution, including but not limited to:



                  □ Those individuals identified on the list provided to defendant and his/her counsel at the hearing.
                  □ Contact is permitted with                                              , but defend.mt shall not discuss this case.
                  □ Other:
        □ (m)     Have no unsupervised contact with any minor children.
                  □ Other:
        □ (n)     Refrain from    any use of alcohol or     refrain from the excessive use of alcohol.
        □ (o)     Participate in the following home confinement program components and abide by all the requirements of the
                  program:
                  □ (1) Curfew: defendant is restricted to his/her residence every day
                             □ from                                                   to                                                  : or
                           □ as directed by the supervising officer;
                  □ (2)    Home Detention: defendant is restricted to his/her residence at all times except for employment,
                           education, religious services, medical, substance abuse or mental health treatment, attorney visits, court
                           appearances, court-ordered obligations, or other activities as pre-approved by the supervising officer; or
                  □ (3)    Home Incarceration: defendant is restricted to his/her residence at all times except for medical needs or
                           treatment, religious services, and court appearances pre-approved by the supervising officer.



                                                                                                                            Page 2 of 5

                                                                                                                                                         25
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                USDCNH-40 (5/20)



                 □ (4)    The home confinement program will include electronic monitoring or other location verification system.
                          Defendant shall pay all or part of the cost of the program based upon his/her ability to pay as determined
                          by the supervising officer.
        □ (P)    Refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. 802,
                 unless prescribed by a licensed medical practitioner.
        □ (q)    Refrain from purchasing, possessing, distributing, administering, or otherwise using any psychoactive substances
                 (e.g. synthetic marijuana, bath salts, kratom, etc.), whether or not intended for human consumption, without
                 preapproval of the supervising officer.
        □ (r)    Participate in a mental health program which shall include medical, psychological, or psychiatric treatment as
                 directed by the supervising officer and do not discontinue any mental health program without preapproval of
                 the supervising officer.
        □ (s)    Defendant shall take all mental health medications as prescribed by his/her treating physician.
        □ (t)    Execute, and do not withdraw or revoke, authorizations for the supervising officer to communicate
                 and obtain information from his/her health care providers.
       □ (u)     Execute a secured unsecured bond or an agreement to forfeit upon failing to appear as required, the
                 following sum of money or designated property:

        □ (v)    Post with the court the following indicia of ownership of the above-described property, or the following amount or
                 percentage of the above-described money:

        □ (w)    Execute a bail bond with solvent sureties in the amount of
        □ (X)    Maintain or commence an education program.
          (y)    Maintain residence at a halfway house or community corrections center, as deemed necessary by the supervising
                 officer.
          (z)    Comply with the following residential requirements or restrictions:


                 □ No overnights away from the residence without preapproval of the supervising officer.
                 □ Any change in residence must be preapproved by the supervising officer.
        □ (aa)   Comply with the following employment requirements or restrictions:


                 □ Refrain from engaging in an occupation, business, profession, or volunteer activity that would require or enable
                    you to                                                             without preapproval of the supervising officer.
        □ (bb)   Report as soon as possible, to the supervising officer any contact with any law enforcement personnel, including,
                 but not limited to, any arrest, questioning, or traffic stop.
        □ (cc)   Other:



  8.   Participate in the following computer restriction or monitoring program:
        □ (a)    Refrain from the possession or use of a computer, electronic communication or data storage device or media, or
                 any internet capable media device unless preapproved by the supervising officer and submit to the examination of
                 any device owned or under the control of the defendant.
        □ (b)    No access to the internet unless preapproved by the supervising officer.
        □ (c)    Computer monitoring software or hardware shall be installed on defendant's computer which will be subject to
                 periodic and unannounced examination by the supervising officer. These examinations may include retrieval and
                 copying of data related to online use from the computer equipment and any internal or external peripheral devices.
                 Defendant shall pay for the cost associated with the monitoring program based upon his/her ability to pay as
                 determined by the supervising officer.
        □ (d)    Defendant shall not access any social media websites, messaging services, and applications that have chat or
                 messaging functions without the approval of the supervising officer (e.g., Facebook, Snapchat, Instagram,
                 WhatsApp, Kik, etc.)
        □ (e)    Defendant shall provide the supervising officer with all current online screen names and passwords and he/she
                 shall not create or use any new profiles or screen names without the prior approval of the supervising officer.



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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                     USDCNH-40 (5/20)



          □ (f)    Defendant shall surrender his/her smartphone to the supervising officer immediately. He/she can request that it be
                   returned to him/her for trade-in purposes only. If he/she trades in the smartphone proof of the trade-in shall be
                   provided to the supervising officer.
  9.      Participate in a sex offender-specific assessment treatment as directed by the supervising officer.
   10.    Provide access to and execute authorizations and do not revoke /withdraw authorizations, for the release of any requested
          financial information as requested by the supervising officer.
          □ (a)     Do not incur any new credit charges or open any new lines of credit without preapprova! of the supervising
                    officer.
          □ (b)     Other;



□ 11.     Abide by all the mandatory, standard and special conditions of superv ised release as previously imposed by this court.

                                                    Advice of Penalties and Sanctions


TO THE DEFENDANT:

       YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
       revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a
       fine, or both.


       The commission of a federal offense while on pre-trial release wilt result in an additional sentence of a term of imprisonment of
       not more than ten years, if the offense is a felony, or a term of imprisonment of not more than one year, if the offense is a
       misdemeanor. This sentence shall be in addition to any other sentence.


       Federal law makes it a crime punishable by up to 10 years of imprisonrr;ent or a $250,000 fine or both to obstruct a criminal
       investigation. It is a crime punishable by up to 10 years of imprisonment and a $250,000 fine or both to tamper with a witness,
       victim, or informant; to retaliate or attempt to retaliate against a witness, victim, or informant; or to intimidate or attempt to
       intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
       significantly more serious if they involve a killing or attempted killing.

       If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
       you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
           not more than $250,000 or imprisoned for not more than ten years, or both;

       (2) on offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
           more than $250,000 or imprisoned for not more than five years, or both;

       (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

       (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

       A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.

       In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.




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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                  USDCNH-40(5/20)



                                                    Acknowledgment of Defendant

     I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrender for service of any sentence imposed. 1 am aware of the penalties and
sanctions set forth above.
                                                                                       /'

Daj^:
                                                    -( Signature of the Defenofliit,

                                                 Directions to United States Marshal


        □ The United State Marshal is ORDERED to keep the defendant in custody until notified by U.S. Probation or the court that
        the defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the
        appropriate judge at the time and place specified, if still in custody.

        □ The defendant shall be detained until notified by U.S. Probation or the court that he/she can be released directly to an
        inpatient treatment facility.


        ^ The defendant is ORDERED released after processing.



Date:
           U\ I 4-1 WZ-3
                                                       0        United States Magistrate Judge
                                                       □        United States District Judge

cc:       Defendant
          U.S. Attorney
          U.S. Marshal
          U.S. Probation
          Defense counsel




                                                                                                                     Page 5 of 5

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